      Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 1 of 9
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                                                                                                 FILED by          .- D.C.

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                                                                                                                    AMI


            GHM (SOUTH BEACH)LLC,aDelaware
            lim ited liability com pany,

                         Plaintiff,


            SETA IO W NER S LLC,a D elaw are lim ited
            liability com pany,TREV ILUX U RY
            H O SPITA LITY GR OU P,IN C.,a Texas
            com oration,and SM B M A N A GEM EN T
            LLC,a Florida lim ited liability com pany,

                         D efendants.


                         M O TIO N FO R LIM IT ED A PPEAR AN C E O F W ILL IA M A .BR EW ER ,111,
                                      CONSENT TO DESIGNATION AND REQUEST TO
                           ELECTRO NICALLY RECEIVE NOTICES OF ELECTRONIC FILING

                         In accordancewith LocalRules4(b)ofthe SpecialRulesGoverning theAdmission and
            Practice ofAttonzeysofthe United StatesDistrictCourtforthe Southel.
                                                                              n DistrictofFlorida,the

            undersigned respectfully m oves for the adm ission pro hac vice ofW illiam A .Brew er,111,ofthe

            law finn Bickel& Brewer with offices at1717 M ain Street,Suite 4800,Dallas,Texas 75201,

            (214)653-4000,forpurposesofappearanceasco-counselon behalfofSetaiOwnersLLC and
            SM B M anagem ent LLC in the above-styled case only,and pursuantto Rule 28 ofthe CM /ECF

            Adm inistrative Procedures,to perm itW illiam A.Brewer,I1lto receive electronic filings in this

            case,and in supportthereofstatesas follow s:

                                 W illiam A .Brewer,11I is not adm itted to practice in the Southern District of

            Florida and is a m em ber in good standing of the Texas Bar- Texas Bar N o.02967035,N ew
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 2 of 9




   York Bar- BarNo.W AB-4805,United StatesDistrictCourtforthe Northern DistrictofTexas,

   United States D istrictCourtfor the Eastem D istrictofM ichigan,United States DistrictCourtfor

   the Eastern D istrict of Texas, U nited States D istrict Court for the W estenz D istrict of Texas,

   United StatesDistrictCourtforthe Southern DistrictofNew York, United StatesDistrictCoul't

   for the D istrictof Colum bia,U nited States D istrictCourtfor the D istrictof Connecticut,United

   States Court of A ppeals for the Fifth Circuit,U nited States Court of A ppeals for the Sixth

   Circuit,United StatesCourtofAppealsfortheFourth Circuit,United StatesCourtofAppealsfor

   the Federal Circuit,United States Courtof Appeals for the Second Circuit,United States Court

   ofAppeals for the Third Circuit,United States CourtofAppeals forthe Seventh Circuit,and

   United States CourtofA ppeals forthe Tenth Circuit.

          2.      M ovant,Elizabeth B .H onkonen,ofthe law finn ofK enny N achw alter,P.A .,201

   South BiscayneBoulevard,Suite 1100,M iami,Florida 33131,(305)373-1000,isamemberin
   good standing of The Florida Bar and the United StatesD istrictCourtforthe Southern D istrictof

   Florida,m aintains an office in this State for the practice oflaw ,and is authorized to file through

   the Court's electronic filing system .M ovantconsents to be designated as a m em berofthe Barof

   this Courtw ith whom the Courtand opposing counselm ay readily com m unicate regarding the

   conduct of the case,upon whom filings shallbe served,w ho shallbe required to electronically

   file a1ldoeuments and thingsthatm ay be filed electronically,and who shallbe responsible for

   tiling docum entsin compliancewith theCM /ECF Adm inistrativeProcedures.See Section 28 of

   the CM /EC F A dm inistrative Procedures.
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          3.     In accordance with the localrulesofthisCourt,W illiam A.Brewer,I11hasmade

   paynzentofthis Court's $75 adrnission fee. A certification in accordance with Rule 4(b)is
   attached hereto.

                 W illiam A.Brewer,111,by and through designed counseland pursuantto Section

   2B CM /ECF Adm inistrative Procedures, hereby requests the Court to provide Notice of

   ElectronicFilingstoW illinm A.Brewer,111,atemailaddress:wab@ bickelbrewencom,
          W HEREFORE,Elizabeth B.Honkonen,moves this Courtto enter an Order allowing

   W illiam A.Brewer,1lIto appear before this Courton behalfof SetaiOwners LLC and SM B

   M anagem ent LLC,for al1 purposes relating to the proceedings in the above-styled m atter and

   directing the Clerk to provide noticeofelectronicfilingsto W illiam A.Brewer,111.

                      CERTIFICATIO N PURSUANT TO S.D.Fla.L.R.7.1(a)(3)
          Undersigned counsel hereby certifies that she confen'
                                                              ed with counsel for Plaintiff

   regarding the reliefrequested in this M otion and is authorized to representto the Courtthatthis

   M otion isunopposed.

   D ated:M ay 30,2012                         Respectfully subm itted,
          M iam i,Florida

                                               Richa     . 1tc low ,Esq.(FloridaBarNo.155227)
                                               rcritc ow a kn a.com
                                               Elizabeth B.H onkonen,Esq.(FloridaBarNo.149403)
                                               ehonkonen@ knpa.com
                                               K ENNY N ACHW ALTER,P.A .
                                               201 South Biscayne Boulevard
                                               Suite 1100
                                               M iam i,Florida 33131-4327
                                               Telephone: (305)373-1000
                                               Facsimile: (305)372-1861
                                               CounselforDefendantSetaiOwnery11C andSMB
                                               M anagem entLLC
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 4 of 9




                                 U N ITED STA TES D ISTR ICT C O U R T
                                 SOUTH ERN DISTRICT OF FLORIDA
                                    CASE NO . 1:12-cv-21932-KM M

  GHM (SOUTH BEACH)LLC,aDelaware
  lim ited liability com pany,

         Plaintiff,


  SETAIOW NERS LLC,aDelawarelim ited
  liability com pany,TREVILUXURY
  H O SPITALITY G RO U P,lN C .,a Texas
  corporation,and SM B M A N AG EM EN T
  LLC,a Floridalim ited liabilitycompany,

          Defendants.


                        CE RTIFIC A TIO N O F W ILLIAM A .B REW E R.III

          W illiam A.Brewer,111,pursuantto Rule 4(b) of the Special Rules Governing the
  Admission and PracticeofAttorneys,hereby certifiesthat(1)1have studied theLocalRulesof
  theUnited StatesDistrictCourtforthe Southern DistrictofFlorida;and (2)lam amemberin
  good standing of the Texas Bar - Texas Bar N o.02967035,N ew Y ork Bar - Bar N o.W A B-

  4805,U nited StatesD istrictCourtfortheN orthern D istrictofTexas,U nited States D istrictCourt

  for the Eastern District of M ichigan,United States District Coul't for the Eastern District of

  Texas, United States District Courtfor the W estern Districtof Texas,United States District

  Courtfor the Southern DistrictofNew York, United States District Courtfor the Districtof

  Colum bia,U nited States D istrict Court for the D istrict of Connecticut,United States Courtof

  Appealsforthe Fifth Circuit,United StatesCourtofAppealsforthe Sixth Circuit,United States

  CourtofA ppeals forthe Fourth Circuit,U nited States CourtofA ppeals for the FederalCircuit,
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 5 of 9




  United States CourtofAppeals forthe Second Circuit,United States CourtofAppeals forthe

  Third Circuit,United StatesCourtofAppealsfortheSeventh Circuit,and United StatesCourtof

  Appeals forthe Tenth Circuit.
                                                        %


                                          W illiam A .Brew er,1l1
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 6 of 9




                                 C ER TIFIC A TE O F SER V ICE

          I certify that on M ay 30,2012,1filed the foregoing document with the Clerk of the
   Court. 1also certify thatthe foregoing docum entisbeing served this day on allcounselofrecord
   orpro se partiesidentified on the attached Selwice Listvia   M ail.
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 7 of 9




                                       SER V IC E LIST
                        GHM (SouthBeach LLC)v.SetaiOwners,LLC,etal.
                             CASE NO .1:12-cv-21932-K M M /TO RR ES
                      United StatesD istrictC ourt,Southern D istrictofFlorida


   K enneth R.H artm ann,Esq.(yloridanarNo.664286) Richard H .Critchlow ,Esq.(FloridaBarNo.155227)
   krhra-kttlaw.com                               rcritchlowçftknpa.com
   DanielF.Benavides,Esq.(rloridaBarNo.81675)     Elizabeth B.Honkonen,Esq.(FloridaBarxo.149403)
   dfb@ kttlaw.com                                ehonkonen@ knpa.com
   DouglasA .W olfe,Esq.(FloridaBarNo.28671)      K ENNY N ACHW ALTER,P.A .
   daw@ kttlaw.com                                201 South Biscayne Boulevard
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   2525 Ponce de Leon,9th Floor                   M iam i,Florida 33131-4327
   CoralGables,Florida 33134                      Telephone: (305)373-1000
   Telephone: (305)372-1800                       Facsimile: (305)372-1861
   Facsimile: (305)372-3508                       CounselforDefendantSetaiOwner.
                                                                               çffC and
   CounselforPlaintff                             SM B M anagementLLC
   IVIA U.S.M AILI                                IVIA U.S.M AILI
                                                  W illiam A .Brew er,l1I
                                                  wab@bickelbrewer.com
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                                                  Dallas,Texas 75201
                                                  Telephone: (214)653-4000
                                                  Facsimile: (214)653-1015
                                                  CounselforDefendantSetaiOwncr,
                                                                               çffC and
                                                  SM B M anagementLLC
                                                  IVIA U.S.M AILI

   429777
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 8 of 9




                             UNITED STATES DISTRICT COURT
                             SO U TH ER N DIST RICT O F FLO R IDA

                                    C A SE N O . 1:12-cv-21932-K M M

      GHM (SOUTH BEACH)LLC,aDelaware
      lim ited liability company,

             Plaintiff,


      SETA IO W NERS LLC,a D elaw are lim ited
      liability com pany,TREV ILUX UR Y
      HOSPITALITY GROUP,INC.,aTexas
      cop oration,and SM B M AN A G EM EN T
      LLC,a Florida lim ited liability com pany,

             D efendants.


            O RD ER G M N TIN G M O TIO N FO R LIM ITED APPEA R AN CE O F
        W ILLIA M A .B REW ER ,111
                                 0.CONSENT TO DESIGNATION AND REQUEST
                                       .
        TO ELECTRONICALLY RECEIVE NO TICES OF ELECTRONIC FILINGS

             TH IS CA U SE cam e before the Courton the M otion for Lim ited Appearmw e of

      W illiam A.Brewer,IlIand ConsenttoDesignation,requesting,pursuantto Rule4(B)of
      the Special Rules Governing the Adm ission and Practice of Attorneys in the United

      States D istrictfor the SouthenzD istrictofFlorida,perm ission fora lim ited appearance of

      W illinm A . Brew er, Ill in this m atter and request to electronically receive notice of

      electronic filings. This Court having considered the m otion and being otherw ise duly

      advised,itis

             ORD ER ED AN D AD JU D GED thatthe M otion forLim ited Appearance, Consent

      to D esignation and Request to Electronically Receive N otices of Electronic Filings is

      hereby GR AN TED . W illiam A .Brew er,1lI is granted leave to appear in this action on

      behalfofDefendants SetaiOwners LLC and SM B M anagem entLLC. The Clerk shall
Case 1:12-cv-21932-KMM Document 13 Entered on FLSD Docket 05/31/2012 Page 9 of 9




      provide eledronic notification of all electronic flings to W illiam A . Brew er, 1l1 at

      wabjybickelbrewer.com.
               D ON E A N D O RD ERED in Cham bers, M iami, Florida, this            day of

                               2012.




                                         THE HO N OR ABLE K .M ICH A EL M O ORE
                                         UN ITED STA TES D ISTRICT COU RT JUD G E


      Copies furnished to:
      AllcounselofrecordontheattachedServiceList

      429781
